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PR_ICE LAW GROUP, APC `~" §f

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JAIMIE S. CALLANTA

 

UNITEI) STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JAIMIE S. CALLANTA, EC€§Y§N M
Pla"““ff’ CoMPLAINT UZAN§DEMAND FoR
vs. JURY TRI_AL FoR vIoLATIoNS
OF:
Fl-RST ELECTRONLC BANK» a 1. THE ROSENTHAL FAIR DEBT
federally Chal‘t€!`€d bank; and DOES 1 COLLECTION PRACTICES
m 10>111°1“3“’€» ACT [CAL. CIV. Co:oE § 1788]
Defendant($).

2. THE TELEPHONE CoNSUMER
PRo'I‘ECTIoN ACT
147 U.S.C. § 2271

 

 

COMPLAINT FOR ])AMAGES
I. INTRODUCTION
l. Jaimie S. Calla.nta (“Plaintiff’) brings this action to Secure redress
from First Eleotronic Bank (“Det`endant”), a federally chartered bank, for
Violations of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227
and Rosenthal Fair Debt Collection Praotices Act (“RFDCPA”), CAL. CIV. CODE
§ 1788. The TCPA is a federal Statute that broadly regulates the use of automated

 

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COMPLAINT FOR DAMAGES

 

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telephone equipment Arnong other things, the TCPA prohibits certain
unsolicited marketing calls, restricts the use of automatic dialers or prerecorded
messages, and delegates rulemaking authority to the Federal Cornmunicaticns
Cornrnission (“FCC”). The RFDCPA prohibits debt collectors from engaging in
abusive, deceptive and unfair practices in connection With the collection of
consumer debts

II. JURISDICTION AND VENUE

2. Jnrisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as
Plaintiff’ s claims arise under the laws of the United States. Jurisdiction in this
Cenrt is also proper pursuant to 28 U.S,C. § 1367 as Plaintit`f" s RFDCPA claim is
so related to Plaintiff’ s TCPA claim that they form part of the same case or
controversy under Article lll of the United States Constitution.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
because the acts and transactions alleged in this Cornplaint occurred here,
Plaintiff resides here, and Defendant transacts business here.

III. PARTIES

4. Plaintifl" is an individual, residing in Palrndale, Los Angeles County,
California 93551. Plaintiff is also known as Jairnie Santella Callanta, Jairnie~
Raye Santella De La Vega, and/or Jaiinie Santella De La Vega.

5. Plaintift` is a natural person from Whorn a debt collector seeks to
collect a consumer debt Which is due and owing or alleged to be due and owing
from such person 'l`hus, Plaintit`f is a “debtor” as defined by the RFDCPA, CAL.
Crv. Coi:)'a§ 1788.2(h).

6. Defendant is federally chartered bank, headquartered at 280 West
10200 South, Suite 200, Sandy, Utah 84070.

7. ln the ordinary course of business, regularly, on behalf of itseliC or
others, Defendant engages in debt collection and thus, Det`endant is a "debt
collector" as defined by the RFDCPA, CAL. CIV. CODE § l788.2(c). Det`endant

 

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COMPLAINT FOR DAMAGES

 

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regularly engages in the collection of debt by telephone in several states
including, California.

8. The true names and capacities, Whether individual, corporate, or in
any other form, of Defendants DOES l through 10, inclusive, and each of them,
are unknown to Plaintiff, Who therefore sues them by such fictitious names.
Plaintit`f Will seek leave to amend this Complaint to show the true names and
capacities of DOES l through 10 should they be discovered

IV. FACTUAL ALLEGATIONS

9. Within one year prior to the filing of this action, l)efendant contacted
Plaintiff to collect money, property or their equivalent, due or owing or alleged to
be due or owing from a natural person by reason of a consumer credit transaction,
Which qualifies as "consurner debt,“ as defined by RFDCPA, CAL. CIV. CODE §
1788.2@ (“alleged debt"").

lO. The alleged debt Was allegedly incurred on a Fry’s Electronics, lnc.
consumer credit card issued by Defendant.

ll. At all times relevant to this action, Defendant owned, operated
and/or controlled telephone number 801»576~4441. At all times relevant to this
action, Defendant called Plaintiff from, but not limited to, telephone number 801»
576~4441. _

12. At all times relevant to this action, Defendant called Plaintiff at, but
not limited to, Plaintifi’ s cellular telephone number 310~430-»1413.

13. Within one year prior to the filing of this action, Defendant caused
Plaintiff”s telephone to ring repeatedly and continuously to annoy Plaintiff.

14. Within one year prior to the filing of this action, Defendant
communicated With Plaintiff With such frequency as to be unreasonable under the
circumstances and to constitute harassment

15. Within one year prior to the filing of this action, Defendant

regularly called Plaintiff multiple times over the course of one day.

 

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COMPLAINT FOR DAMAGES

 

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16. On or about November 20, 2013, Plaintiff requested in writing that
Defendant stop calling Plaintiff. A true and correct copy of Plaintifi’ s Novernber
20, 2013, letter is attached hereto and referred to herein as “Exhibit A.” ln
Exhibit A, Plaintiff notified Defendant that Plaintiff was represented by an
attorney In Exhibit A, Plaintiff provided Defendant with Plaintiff’ s attorney"`s
contact information in Exhibit A, Plaintiff requested all iiiture communication
be directed to Plaintiff’ s address

l7. Subsequent to November 20, 2013, Defendant called Plaintiff no
less than live (5) times. _

18, The natural and probable consequences of Defendant’s conduct was
to harass, oppress or abuse Plaintiff in connection with the collection of the
alleged debt.

19. 'l.`he natural and probable consequences of Defendant’s conduct
amounts to an unfair or unconscionable means to collect or attempt to collect the
alleged debt

20. At all times relevant to this action, while conducting business in
California, Defendant has been subject to, and required to abide by, the laws of
the United States, which included the TCPA and its related regulations that are set
forth at 47 C.F.R. § 64.1200 (“TCPA Regulations”), as well as the opinions,
regulations and orders issued by the courts and the FCC implementing
interpreting and enforcing the TCPA and the TCPA regulations

21. At all times relevant to this action, Defendant owned, operated and
or controlled an °‘automatic telephone dialing system” as defined by'"l`CPA 47
U.S.C. § 227(a)(l) that originated, routed and/or terminated telecommunications

22. Within four years prior to the filing of this action, Defendant called
Plaintiff at Plaintifi” s cellular telephone number 310-430-1413 multiple times
using an artificial prerecorded voice or using equipment which has the capacity to

store or produce telephone numbers to be called, using random or sequential

 

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COMPLAINT FOR DAMAGES

 

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number generator and to dial such numbers, also known as an “automatic
telephone dialing system” as defined by TCPA 47 U.S.C. § 227(a)(l)(A) and (B).

23. Defendant never received Plaintiff’s consent to call Plaintiff on l
Plaintiff s cellular telephone using an “automatic telephone dialing system” or an
“artificial or prerecorded voice” as defined in 47 U.S.C. § 227 (a)(l).

24. Assuming Defendant received Plaintiff’ s consent to call Plaintiff on
Plaintiff s cellular telephone using an “automatic telephone dialing system” or an
“altificial or prerecorded voice” as defined in 47 U.S.C. § 227 (a)(l), this consent
was revoked on or about, but not limited to December 4, 2013.

25. At no time have Plaintiff and Defendant had an “established business
relationship” as defined by 47 U.S.C. § 227(a)(2).

26. Defendant is not a tax exempt nonprofit organization

27. Defendant’s violation of the TCPA was willful

28. Within four years prior to the filing of this action, Defendant
willfully and/or knowingly contacted Plaintiff no less than five (5) times at
Plaintiff’ s cellular telephone using an “automatic telephone dialing system” or
using an c‘artificial or prerecorded voice” in violation of the TCPA.

V. FIRST CAUSE OF ACTION
(Violation of the RFDCPA, CAL. CIV. COI)E § 1788)

29. Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein

30. Defendant violated the RFDCPA. Defendant’s violations include,
but are not limited to, the following:

(a) Defendant violated CAL. CW. CODE § 1788.1 l(d) by causing a
telephone to ring repeatedly or continuously to annoy the person called; and

(b) Defendant violated CAL. CW. CODE § l788.l l(e) by communicating

by telephone or in person, with the debtor with such frequency as to be

 

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COMPLAINT FOR DAMAGES

 

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unreasonable and to constitute an harassment to the debtor under the
circumstances; and

(c) Defendant violated CAL. CIV. CODE § 1788.14(0) by communicating
with a debtor, other than statements of account, after the debt collector has been
notified in writing that the debtor is represented by an attorney; and

(d) Det`endant violated CAL. CtV. CODE § 1788.17 by collecting or
attempting to collect a consumer debt without complying with the provisions of
Sections l692b to 1692j, inclusive, of . . . Title 15 of the United States Code (Fair
Debt Collection Practices Act).

(i) Defendant violated CAL. CIV. CODE § 1788. 17 by violating 15
U.S.C. § 1692(c)(a)(2) by communicating with a consumer in connection with the
collection of any debt if the debt collector knows the consumer is represented by
an attorney with respect to such debt and has knowledge ot`, or can readily
ascertain, such attorney’s name and address, unless the attorney fails to respond
within a reasonable period of time to a communication from the debt collector or

unless the attorney consents to direct communication with the consumer; and

(ii) Detendant violated CAL. Clv. CODE § 1788.17 by violating 15
U.S.C. § 1692(c)(c) by communicating with the consumer with respect to a debt,
after the consumer notifies the debt collector in writing that the consumer refuses
to pay a debt or that the consumer wishes the debt collector to cease further
communication with the consumer; and

(iii) l)efendant violated CAL. CIV. CODE § 1788.17 by violating 15
U.S.C. § l692d by engaging in conduct, the natural consequence of which is to
harass, oppress or abuse any person in connection with the collection of the
alleged debt; and
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(iv) Defendant violated CAL. Ctv. CODE § 1788. 17 by violating 15
U.S.C. § 1692d(5) by causing Plaintiffs phone to ring or engaging Plaintiff in
telephone conversations repeatedly; and l _

(v) Defendant violated CAL. CIV. CODI~El § 1788. 17 by violating l5

U.S.C. § 1692f by using unfair or unconscionable means in connection with the

collection of an alleged debt.

31. Defendant’s acts, as described above, were done intentionally with
the purpose of coercing Plaintiff to pay the alleged debt.

32. As a result of the foregoing violations of the RFDCPA,

Defendant is liable to Plaintiff for actual damages, statutory damages, and
attorney’s fees and costs.
VI. SECOND CAUSE OF ACTION
(Violations of the TCPA, 47 U.S.C. § 227)

33. Plaintiff incorporates by reference all of the above paragraphs of
this Complaint as though fully stated herein

34. Defendant violated the TCPA. Defendant’s violations include, but
are not limited to the following:

(a) Within four years prior to the filing of this action, on multiple
occasions, l)efendant violated TCPA 47 U.S.C. § 227 (b)(l)(A)(iii) which states
in pertinent part, “lt shall be unlawful for any person within the United States . . .
to make any call (other than a call made for emergency purposes or made with the
prior express consent of the called party) using any automatic telephone dialing
system or an artificial or prerecorded voice - to any telephone number assigned
to a . cellular telephone service . . . or any service for which the called party is
charged for the call_

(b) Within four years prior to the filing of this action, on multiple
occasions, Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff s

cellular telephone using an artificial prerecorded voice or an automatic telephone

 

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COMPLAINT FOR DAMAGES

 

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dialing system and as such, l)efendant knowing and/or willlillly violated the
TCPA. `

35. As a result ofDefendant’s violations of 47 U.S.C. § 227, Plaintiff is
entitled to an award of five hundred dollars ($500.00) in statutory damages, for
each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(l3). if the Court finds
that l)efendant knowingly and/or willfully violated the TCPA, Plaintiff is entitled
to an award of one thousand five hundred dollars ($1,500.00), for each and every
violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

36. Plaintiff is also entitled to seek injunctive relief prohibiting such
conduct in the hiture.

VII., PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests thatjudgment be entered
against Defendant for the following:

(a) An injunction prohibiting Defendant from contacting Plaintiff on
Plaintiff’ s cellular telephone using an automated dialing system
pursuant to 47 U.S.C. § 227(b)(3)(A); and

(b) Actual damages pursuant to CAL. CIV. CODE § l788.30(a); and

(c) As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1),

Plaintiff is entitled to and requests five hundred dollars ($500.00) in
statutory damagesw for each and every violation, pursuant to 47
U.S.C. § 227(b)(3)(l3); and

(d) As a result of Defendant’s willful and/or knowing violations of 47

U.S.C. § 227(b)(l), Plaintiff is entitled to and requests treble
damages, as provided by statute, up to one thousand five hundred
dollars ($1,500.{)0), for each and every violation pursuant to 47
U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C); and

(e) Statutory damages pursuant to CAL. CIV. CODE § l788'.30(b); and
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COMPLAINT FOR DAMAGES

 

 

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(t`) Costs and reasonable attorney’s fees pursuant to CAL. CIV. CODE §
1788.30(0); and

(g) Awarding Plaintiff any prejudgment and post-judgment interest as
rnay be allowed under the law; and

(h) For such other and further relief as the Court may deem just and

proper.

VIII. DEMAND FOR JURY TRIAL `
Please take notice that Plaintiff demands a trial by jury in this action.

RESPECTFULLY SUBMITTED,

Dar@d; Januag 9, 2014 PRICE LAW G UP, APC
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G. Thornas Martin, Iil
Attorney for Plaiutz'yj”

 

 

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Case 2:14-cV-00315-SS Document 1 Filed 01/14/14 Page 10 of 14 Page |D #:16

EXHIBIT A

 

 

 

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COMPLAINT FOR DAMAGES

 

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November 20, 2013

First Electronic Bank
280 West 10200 South, Suite 200
Sandy, U'l` 84070

Narne'. Jaimie Callanta
Cellular #: 310»430~1413

To Whom lt May Coneern,
l am receiving an overwhelming volume of collection calls to my cellular telephonel
Please do not cali me in the future

Also, l have retained an attorney for the purpose of filing bankruptcy As sueh, please direct all
future correspondence to my attorney:

Price Law Group, APC

15760 Ventura Boulevard, Suite 1100
Encino, CA 9§436

(818) 995»4540

Sincereiy,

lairnie Calianta
21815 I\/£artin Street
Carson, CA 90745

cc. i. First Electronie Banl<, P.O. Box 825, Draper, UT 84020
2. Fry's Electronics, 600 East Brol<aw, San Jose, CA 95112 USA

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l. (a) PLAINTlFFS ( Cbeck box if you are representing yourself n .l)h /' , lhlE-FENPANTS (Check box if you are representing yourself f: )

 

 

JAIMIE S. CA§_LAN"TA FIRS? ELECTRON|C BAN|<, a federa%|y chartered bank; and DOES t to 10, inclusivel
[b) Attorneys {$irm Name, Address and Telephone Number. if you (b) Attorneys {Firm Name, Address and Teiephone Number. lt you
are representing yourse!f, provide same information.) are representing yourse¥f, provide same information.}

G. Thomas N'|art§n, HE (SBN 218456)
PR|CE LAW GROUP, APC, (818)907-2030
15760 Ventura B|vd., Suite1100, §rac'mo, CA 91436

 

 

 

 

Zl. BAS§S OF _¢URlSDlCTEON (Piace an X in One box On|y,) lll. CITIZENSHIP OF PR|NC|PAL PAR`F|ES- For Diversity Cases Oniy
(Piace an X ln one box for plaintiff and one for defendant)
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, _ _ _ _ , of Business in Another$tate
2. U.S. Government [:|4. Dzversity (lndlcate Cltlzenshlp Citizen or Subject of a 3 3 F _ N t. 1
Defendant of Parties in item iii} Forelgn Country l:l l:i °'@’g” a '°“ ' § 6 l:l 5
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CLASS ACTiON under F.R.CV.P. 232 f:_l Yes No |:] MONEY DEMANDED lN COMPi.AINT: $ BCCO!’dlng to proof
Vl. CAUSE OF ACTION (Cite the U.S. C§vi| Statute under which you are El`mg and write a brief statement of cause £}o not cite jurisdictional statutes uniess diversity.)

 

Violetions of the Rosenthal Fair Debt Col|ection Practices Act, CAL. CFV. CODE § 1788; Violations ofThe telephone Consumer Protection Act. 47 U.S.C. § 227
VI|. NATURE OF SU|? (Piace an X m one box oniy).

 

 

 

 

 

 

   
 
 
 
 
 

     
 
  

 

       

    
 
 

   
    
 

   

   

     
 

 

 

 

 

 

 

 

 

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lll?!. VENU E: Your answers to the questions below wili determine the division ofthe Court to which this case wiii most likely be initially assigned Th`cs initial assignment

is subject to change in accordance with the Court's Generai Orders, upon review by the Court of your Cornplaint or Notice of Removai.

 

Question A: Was this case removed from
state court'!

[:| Yes [;>§] No

if ”no, " go to Question B. if "yes," check the
box to the right that app!ies, enter the
corresponding division in response to
Question D, beiow, and skip to Section iX.

 

    

 

 

 

 

 

 

l:| l_os Angeles Western
|:§ Ventura, Santa Saroara, or San Luis Obispo W@Sf€m
[3 Orange Southern
§§ Riverside or San Bernardino Ea$tern

 

 

Question B: ls the United States, or one
its agencies or employees, a party to this
action?

[:| Yes [:>§] No

if "no, " go to Question C. if "yes," check the
box to the right that appiies, enter the
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i_os Angeies

Ventura, Santa Barbara, or San Luls

Orange

Riverside or San Bernardino

§:] Los Angeies
Ventura, Santa
I:J

[:] Orange

[:l Riverside or San Bernardino

or San l.uis

 

Westem

Westem

Southerri
Eastern

Western

 

 

 

majority of plaintiffs reside:

 

majority of defendants reside: ,

 

E:i
indicate the location in which a [:| g
i:i

indicate the location in which a
ma‘ori’§y of lairns rose'
. (_¢.

 

   

 

 

 

C.'i . is either of the following true? ll so, check the one that applies:

[:i 2 or more answers in Coiumn C

ll:] only 1 answer in Coiurnn C and no answers in Colurnn D

Your case will initially be assigned to the
SOUTHERN DiViS§ON.
Eriter "Southern" in response to Question D, below.

if none appiies, answer question C2 to the right

mb

 

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:§EE

 

 

i:i$§i

 

 

l:] 2 or more answers in Column D

[:l only 1 answer in Coiumn D and no answers in Colurrin C

Your case will initiai§y be assigned to the
EAS”§”ERN DlViSiON.
Enter "Eastern" in response to Quesi:ion D, below.

if none appiies, go to the box beiow. t

C.Z. is either of the foiiowing true? if so, check the one that applies:

 

 

Your case wiii initially be assigned to the
WESTERN DiVlS!ON.
Enter "Western" in response to Question 9 beiow.

 

 

 

 

   

 

Enter the initia! division determined by Question A, B, or C above: mn§

 

 

 

 

Western

 

 

 

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Case 2:14-€¥1§}0%[5§$1“£!99\5\¥%¢1 céibsitpéefin‘nm. Bmiér<rbli€ABeefaiii;i¢fZO

 

C|VlL COVER S|'{EET
iX(a). |DENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO m YES
if yes, listn case number(s):
lX(b). REi.A'i'ED CASES: iiave any cases been previously filed in this court that are related to the present case? NO l:| YES

if yes, list case number(s):

 

Civii cases are deemed related if a previously fi¥ed case and the present case:

(Check ali boxes that apply}

l:] Ar Arise from the same or closely related transactions happenings or events; or

[:] B. Cail for determination of the same or substantia|iy related or simiiarquestions of law and fact; or

[:] C. For other reasons would entail substantial duplication of labor if heard by differentjudges; or

l:] D. involve tire same patent trademark or copyright and one of the factors identified above in a, b or c aiso is present.

 

i(. SEGNATURE OF AT`¥ORNEY
(OR SEZ.F-R£PRESENTED LlTIGANT}:

%l'\-Qw»s MP~'U nine 01/09/2014

 

Notice to Counsel/Parties:`l"he CV-7i (JS-44} Civil Cover Sneet and the information contained herein neither replace nor supplement the iiiing and service of pleadings or
other papers as required by law. This iorm, approved by the indicial Conference of the United States in September i974, is required pursuant to l.ocal Rule 3-1 is not tried
but is used bythe Clerk of the Court for the purpose of statistics venue and initiating tire civii docket sheet. (For more detaiied instructions see separate instructions sheet).

 

Key to Statisticai codes reiating to Social Security Cases:

Nature of Suit Code Abbreviation
861 l-|iA
862 BL
863 DiWC
863 DiWW
864 SSID
865 RSI

Substantive Statement of Ca use of Action

Ali claims for health insurance benefits lMedicare) under Title iB, Part A, of the Social Security Act, as amended Also,
inciude ciairns by hospitals skilled nursing facilitiesl etc., for certification as providers of services underthe program
(42 U.S.C. 1935¥F(b})

Ali claims for "B|aci< Lung" benefits under Titie 4, Pa:t B, of the Federal Coal Nline l-lealth and Sai'ety Act of1969. (30 U.S.C.
923)

Ali ciaims tried by insured workers for disability insurance benefits under`l`rt|e 2 of the Social Security Act, as amended; plus
ail claims filed for child‘s insurance benefits based on disabiiity. {42 iJ.S.C. 405 (g}}

Ali ciaims filed for widows or widowers insurance benefits based on disability under Titie 2 of the Social 5ecurity Act, as
amended (42 U.S.C. 405 (g})

Ali ciairns for suppiementai security income payments based upon disabiiity filed under Titie 16 of the Social Security Act, as
amended

All ciairns for retirement {old age) and survivors benefits under 'l'ltle 2 of the So<:ial Security Act, as amended
r42 u.s.c.¢ms (g))

 

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